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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE


 UNITED STATES OF AMERICA                                                               PLAINTIFF


 v.                                                      CRIMINAL ACTION NO. 3:07CR-117-S


 MICHAEL ALLEN FORD                                                                   DEFENDANT


                           MEMORANDUM OPINION AND ORDER


        This matter is before the court on motion of the defendant, Michael Allen Ford, for

 reconsideration of the court’s August 18, 2009 ruling rejecting the findings of fact and

 recommendation of the United States magistrate judge that Ford’s motion to suppress property

 seized from his person be granted (DN 318).

        After review of the record and consideration of the arguments of the parties, the court held

 that “Unlike the evidence with respect to the search of Ford’s vehicle which the magistrate judge

 characterized as a ‘he said/he said’ situation, the only evidence concerning the search of Michael

 Ford’s person is the testimony of Sgt. Butler that Ford gave consent. Ford testified at the hearing,

 but was asked only if he consented to the search of the vehicle. Thus the evidence offered by the

 United States with respect to the consent to search Ford’s person stands unrefuted.” 8/20/09

 Mem.Op. and Ord., p. 2.

        Ford urges that Sgt. Butler failed to specifically testify that Mr. Ford consented to a search

 of his person. Ford urges that Butler stated that “they consented,” without ever identifying who

 “they” were. The context surrounding the quote establishes that Butler clearly was referring to Ford

 when stating that “they” consented to a search of his person. Butler testified that Michael Ford was

 driving the Road Master vehicle (p. 103). There was a traffic stop of Ford and his vehicle (p. 103).

 Sgt. Butler identified the three occupants of the vehicle as Keith Ford, Michael Ford, and Frederick
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 Malone (p. 104). Butler then testified that he “talked to all three Defendants, obtained consent to

 search verbally from Michael Ford on the vehicle, and had them separated as to each if they had

 anything hidden on them. They consented to a search of their person, at which point we find the IDs

 belonging to a victim...” (p. 104). It is clear when the quote is read in context that Sgt. Butler

 obtained consent from the three vehicle occupants, Keith Ford, Michael Ford, and Frederick Malone,

 to a search of their person. That testimony is the only testimony elicited on the point, and thus it

 stands unrefuted.

        Ford was asked whether he gave consent to the search of his vehicle. He responded “no.”

 In a rather unusual procedure, Michael Ford has submitted an affidavit in which he states that when

 responding to the question about consent to search his vehicle he “meant to include his person as

 well.” Ford Aff., Notice to Supplement Motion to Reconsider, DN 321. Ford has not moved for

 leave to file this document. Further, Ford has cited no authority to support the filing of such an

 affidavit in an attempt to belatedly controvert uncontroverted testimony.

        Therefore, motion having been made and for the reasons set forth hereinabove and the court

 being otherwise sufficiently advised, IT IS HEREBY ORDERED AND ADJUDGED that the

 motion of the defendant, Michael Allen Ford, to reconsider findings (DN 318) is DENIED.



 IT IS SO ORDERED.


             December 17, 2009




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